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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF VIRGINIA
                                     (Roanoke Division)

 RILEY AMORE and                                   )
 CAROLINE PARKER,                                  )
                                                   )
           Plaintiffs,                             )
                                                   )
 v.                                                )   Case No.: 7:25-CV-00229
                                                   )
 AMERICAN ASSOCIATION OF                           )
 VETERINARY CLINICIANS, ET AL.,                    )
                                                   )
           Defendants.                             )
                                                   )

      MOTION FOR PRO HAC VICE ADMISSION OF CHRISTOPHER R. BRENNAN

       On behalf of Defendant MedVet Associates, LLC (“MedVet”), the undersigned counsel

moves the Court, pursuant to Local Rule 6(d), to admit Christopher R. Brennan (“Mr. Brennan”) pro

hac vice to this Court as counsel for MedVet in the above-captioned action, and in support states as

follows:

       1.         Mr. Brennan is a partner in Pittsburgh, Pennsylvania office of Reed Smith LLP.

       2.         MedVet retained Mr. Brennan as legal counsel for the above-captioned action.

       3.         Mr. Brennan is licensed to practice before the Supreme Court of Pennsylvania. (Bar

No. 313534). A copy of Mr. Brennan’s certificate of good standing from the Supreme Court of

Pennsylvania is attached hereto as Exhibit A.

       4.         Mr. Brennan has never been reprimanded in any court, nor has there been any action

in any court pertaining to his conduct or fitness as a member of the bar.

       5.         Mr. Brennan certifies that he has read and is familiar with the Local Rules of this

Court and agrees to abide by and comply with such rules.




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        6.        This application is made by Elizabeth V. Husebo, an associate with the Tysons,

Virginia office of Reed Smith LLP, a member of the bar of this Court and local counsel for MedVet

in the above-captioned matter. She will continue to receive pleadings, discovery and correspondence

in this action.

        WHEREFORE, for the foregoing reasons, Elizabeth V. Husebo respectfully requests that

this Court admit Christopher R. Brennan pro hac vice to represent Defendant MedVet Associates,

LLC in this action.

        Dated: May 15, 2025



                                             MEDVET ASSOCIATES, LLC

                                             By Counsel:

                                             /s/ Elizabeth V. Husebo
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                                             Counsel for Defendant MedVet Associates, LLC




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                                  CERTIFICATE OF SERVICE

       I hereby certify that on May 15, 2025, I electronically filed the foregoing using the CM/ECF

system, which will automatically send an e-mail notification of such filing to all counsel of record.


                                                     /s/ Elizabeth V. Husebo
                                                     Elizabeth V. Husebo (VSB No. 96015)
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                                                     LLC




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